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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TIMOTHY C. PIGFORD, et al.
     PLAINTIFFS

v.                                                          CIVIL ACTION NO. 97-1978
(PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT



CECIL BREWINGTON, et al.
     PLAINTIFFS

v.                                                          CIVIL ACTION NO. 98-1693
(PLF)

TOM VILSACK, SECRETARY, THE UNITED
STATES DEPARTMENT OF AGRICULTURE
     DEFENDANT


           IN RE: THE TRACK B ARBITRATION OF JAMES STEPHENSON
                     CLAIM NO. 18759, ARBITRATION NO. 064

                          DECLARATION OF DAVID U. FIERST

        I, David U. Fierst, do hereby declare as follows:

        1. I have personal knowledge of the matters stated herein.

        2. I am a partner in Stein, Mitchell, Muse, Cipollone & Beato LLP, located at

1100 Connecticut Avenue N.W., Washington D.C. 20036.

        3. I have a B.A. degree from the University of Pennsylvania, and a J.D. degree

from the National Law Center at George Washington University. I am a member of the




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Bar of the District of Columbia, and have been since 1975. I am also a member of the

Bar of the State of Maryland and various appellate courts.

      4. I have been retained by Cross Kearney PLLC in connection with its motion for

payment of fees and reimbursement of expenses arising from the successful

representation of James Stephenson in a Track B arbitration arising from the settlement

of the above captioned matter.

      5. I kept contemporaneous records of my time in this matter. I devoted the

following time to this motion, up to and including June 30, 2014:

    Date       Lwyr    Hours                       Explanation
 10/22/2013    DUF     0.70      Review documents concerning fee petition

                                 Review previous petition for fee and opinion of
 10/31/2013    DUF     0.90      arbitrator

                                 Review file on previous fee request; email to J.
 11/7/2013     DUF     0.70      Kearney

 12/9/2013     DUF     1.10      Review of file from Kearney

                                 Review of documents from Kearney; draft of motion
 12/10/2013    DUF     3.80      for fees

 12/12/2013    DUF     4.60      Draft motion for fees

 12/13/2013    DUF     2.60      Draft motion

 2/4/2014      DUF     1.00      Motion for fees

 4/17/2014     DUF     2.00      Motion for fees

 4/18/2014     DUF     3.80      Motion for fees

 4/22/2014     DUF     1.90      Motion for fees

 6/13/2014     DUF     4.10      Motion for fees

 6/18/2014     DUF     3.60      Draft motion for fees
 6/25/2014     DUF     1.10      Motion for fees

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 6/26/2014      DUF      4.80    Motion for fees

6/30/2014       DUF      2.50    Motion for fees

       6. My hourly rate in this matter is $500 per hour. This is lower than would be

presumptively reasonable pursuant to the Laffey matrix.

       7. My fee to date, computed based on my number of hours multiplied by my

hourly rate, is $19,600. I anticipate additional time should a reply be necessary.

       I declare under penalty of perjury that the foregoing is true and correct. Executed

this 7th day of July, 2014.

                                   /s/_David U. Fierst________________________
                                   David U. Fierst (D.C. Bar No. 912899)
                                   STEIN, MITCHELL, MUSE, CIPOLLONE & BEATO LLP
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                                   DFierst@steinmitchell.com




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